                          UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF WISCONSIN


UNITED STATES OF AMERICA
               Plaintiff,

       v.                                                  Case No. 10-CR-31

KAI VANG
                      Defendant.


                                              ORDER

       On May 19, 2011, I sentenced defendant Kai Vang to 4 years’ probation on his guilty

plea to transferring a firearm with knowledge that it would be used in a drug trafficking offense.

The charges arose out of defendant’s involvement with the “MOD” gang, which distributed

substantial amounts of ecstasy in Wisconsin, Minnesota, and elsewhere. As conditions of

probation, I required defendant to serve 6 months of home confinement, complete 40 hours

of community service, and avoid any gang association. Defendant faced an advisory guideline

range of 18-24 months, but I found a sentence served in the community sufficient. First, while

the offense was serious, the record contained no specific evidence of violence on defendant’s

part or directly flowing from his actions. Nor did it appear that he held a leadership position in

the criminal organization or that he profited much from this conduct. Second, based on

defendant’s lack of any prior record, his family ties, his solid work history, his efforts to further

his education, and his good performance on pre-trial release, I found that a sentence served

in the community would suffice to protect the public and deter defendant from re-offending.

I found a 4 year probationary term, less than the statutory maximum but still substantial,

sufficient but not greater than necessary to ensure monitoring and employment.



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       The probation office now recommends early termination of supervision, indicating that

defendant has been fully compliant with his conditions, continues to be employed, and has

incurred no new law violations. He has also completed his 40 hours of community service and

submitted negative drug screens. If allowed to discharge early, defendant indicates that he

plans to relocate to California to be near his brother, who owns and operates a restaurant.

       Under 18 U.S.C. § 3564(c),

       The court, after considering the factors set forth in section 3553(a) to the extent
       that they are applicable, may, pursuant to the provisions of the Federal Rules of
       Criminal Procedure relating to the modification of probation, terminate a term of
       probation previously ordered and discharge the defendant at any time in the case
       of a misdemeanor or an infraction or at any time after the expiration of one year
       of probation in the case of a felony, if it is satisfied that such action is warranted
       by the conduct of the defendant and the interest of justice.

The court may thus grant early termination of felony probation if: (1) the defendant has served

at least one year; (2) the government is given notice and an opportunity to be heard; and (3)

termination is in the interest of justice based on the defendant’s conduct and the pertinent

sentencing factors under 18 U.S.C. § 3553(a). United States v. Nelson, No. 09-CR-108, 2012

WL 3544889, at *1 (E.D. Wis. Aug. 16, 2012).

       Defendant has served more than two years of probation. The government, advised of

the recommendation, objects to early termination, noting that defendant facilitated the transfer

of firearms between gang members and was involved in the distribution of ecstasy. The

government believes that early termination would depreciate the seriousness of the offense,

would not promote respect for the law, and would not provide just punishment.

       The district court possesses broad discretion in determining whether the interests of

justice would be served by early termination. See United States v. Hook, 471 F.3d 766, 771

(7th Cir. 2006). However, courts have generally found that the conduct of the defendant

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necessary to support early termination should include more than simply following the rules;

otherwise, every defendant who avoided revocation would be eligible for early termination.

Instead, courts have tended to grant such requests only in cases involving new or unforeseen

circumstances, which may include exceptionally good behavior.           E.g., United States v.

Schrader, No. 11-CR-13, 2013 WL 257208, at *2 (E.D. Wis. Jan. 23, 2013) (collecting cases);

see also United States v. Caruso, 241 F. Supp. 2d 466, 468 (D.N.J. 2003) (“[T]here is general

agreement that the early termination of probation is a decision entrusted to the sound discretion

of the District Court and is warranted only in cases where the defendant demonstrates changed

circumstances, such as exceptionally good behavior.”).

       In this case, while defendant’s compliance is commendable, his conduct cannot be

deemed exceptional. The court expects offenders on supervision to follow the rules, work,

support their dependents, and abstain from drug use. See, e.g., United States v. Bartak, No.

10-CR-174, 2013 WL 3049226, at *2 (E.D. Wis. June 17, 2013). Defendant’s conduct over the

past two years of probation appears to represent a continuation of his behavior while on pre-

trial release (working for the U.S. Postal service, living with his wife and two children), which

I found supported the original sentence of 4 years’ probation.

       Courts have also considered early termination where the conditions of supervision

interfere with the offender’s rehabilitation, see Schrader, 2013 WL 257208, at *2 (citing United

States v. White, No. 06-CR-50, 2012 WL 5198364, at *2-3 (E.D. Wis. Oct. 19, 2012)), but no

such showing has been made here. Defendant indicates that if terminated he plans to relocate

to California, but there is no indication that he has requested or been denied a transfer of

supervision to another district, see White, 2012 WL 5198364, at *2, and he appears to be doing

well in his present situation in Minnesota.

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       Finally, while I concluded originally that probation with a home confinement condition

would satisfy the purposes of sentencing, including the need for just punishment, I agree with

the government that terminating probation early would depreciate the seriousness of this

offense. See 18 U.S.C. § 3553(a)(2)(A). While defendant did not occupy a leadership position

in the gang, the intercepted calls demonstrated that he was trusted and respected by the

gang’s leaders. (PSR ¶ 91.) The calls further showed that he regularly received ecstasy for

distribution to others, and that he was familiar with the movement of firearms among members

of the gang. (PSR ¶ 91.) Gang members also dropped firearms off at defendant’s residence,

which he held until he transferred them to other members. (PSR ¶ 94.) Continued probation,

with the condition proscribing any further gang association, is appropriate to protect the public

and deter further violations of the law. See 18 U.S.C. § 3553(a)(2)(B) & (C). While defendant

does not appear to have significant correctional treatment needs, see 18 U.S.C. §

3553(a)(2)(D), the other § 3553(a) factors support continued supervision.

       THEREFORE, IT IS ORDERED that the request for early termination is DENIED.

       Dated at Milwaukee, Wisconsin this 12th day of August, 2013.

                                          /s Lynn Adelman
                                          ______________________________
                                          LYNN ADELMAN
                                          District Judge




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